Case 1:96-cr-00084-PLM          ECF No. 829, PageID.2642            Filed 05/04/16      Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                     Case No. 1:96-CR-84-06

v.                                                            HON. ROBERT HOLMES BELL

SAMMY DYER,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Sammy Dyer has filed a motion for modification or reduction of sentence (ECF

No. 797) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       The Probation Department filed a sentence modification report on December 30, 2015 (ECF

No. 819). In its report, the probation department recommended the defendant is eligible for

reduction in sentence based on defendant currently being an inmate. U.S.S.G. § 2D1.1 was used in

the guideline calculations, and the guideline range applicable to the defendant subsequently has been
Case 1:96-cr-00084-PLM         ECF No. 829, PageID.2643           Filed 05/04/16      Page 2 of 5




lowered as a result of the retroactive amendment to the Sentencing Guidelines (782). A reduction

of sentence is consistent with the policy statements of the U.S. Sentencing Commission.

        At the time of Defendant’s sentencing, the Court found an adjusted offense level of 42, a

Criminal History Level III, for a Guideline Range of 360 months to Life imprisonment. The Court

sentenced Mr. Dyer to 360 months’ custody due to his age and the likelihood of continued criminal

activity.

        The Probation Department’s Sentence Modification Report determined Defendant Dyer’s

amended sentencing guideline computation as follows: Base offense level 34 (at least 4.5 kilograms

of cocaine base and 400 pounds of marijuana for a total marijuana equivalency of 16,250.50

kilograms); 2 points for Possession of a Firearm; 2 points for Obstruction of Justice, for a total

offense level of 38. A total offense level 38 and a Criminal History Category III results in a

guideline sentencing range of 292 to 365 months in prison.

        Defendant has filed a response to the Sentence Modification Report (ECF No. 820) arguing

that the 4,500 gram cocaine base figure in the Sentence Modification Report is inaccurate. Defense

Counsel further argues that “the correctly computed amended base offense level is 32 based on the

factual findings adopted by the Court at the original sentencing. Mr. Dyer was held responsible for

1.5 kilograms of crack cocaine and 181 kilograms of marijuana. Under the amended drug guidelines,

one gram of cocaine base is equivalent to 3,571 grams of marijuana equivalent; 1.5 kilograms of

crack cocaine is thus equivalent to 5,356.5 kilograms of marijuana. With the addition of 181

kilograms of actual marijuana, the final result is 5,537.5 kilograms of marijuana equivalent. Base

offense level 32 is appropriate for marijuana quantities between 3,000 and 10,000 kilograms, and

thus applies here.”


                                                2
Case 1:96-cr-00084-PLM           ECF No. 829, PageID.2644           Filed 05/04/16      Page 3 of 5




         The government has also filed a response to the sentence modification report (ECF No. 821),

concurring with the probation department’s assessment that Defendant is entitled to a reduction of

sentence and that his amended guideline range is 292 to 365 months. The government contends that

the 4,500 gram cocaine base figure in the Sentence Modification Report is proper. The government

objects to Dyer’s alternative computation arguing it conflicts with the trial record, the sentencing

record, the district court record on prior sentence modification motions, the appellate court record,

and the law. The government also argues the mandatory minimum applies in this case, which is 20

years.

         The Sixth Circuit has explained the discrepancy in the cocaine base figure. When Defendant

was initially sentenced, “a defendant needed only to be responsible for one and one half kilograms

of cocaine base in order to be assigned a base offense level of 38.” United States v. Dyer, 530 F.

App’x 504, 504 (6th Cir. 2013). This Court found that Defendant was responsible for “at least that

amount, using a conservative estimate.” Id. In response to a similar argument made by

Defendant–that this Court should have determined that he was responsible for less than four and one

half kilograms of cocaine base–the Sixth Circuit stated:

         Where a sentencing court makes a finding that a defendant was responsible for “at
         least” a minimum quantity of drugs, it can make a new drug quantity determination
         when the defendant files a motion for a sentence reduction; the new finding must be
         supported by competent evidence in the record, including the trial transcript. United
         States v. Valentine, 694 F.3d 665, 670-73 (6th Cir. 2012). . . . [H]ere more than one
         witness testified to a single incident where Dyer participated in cooking six
         kilograms of cocaine base—an incident that was part of a conspiracy that lasted for
         five years. Thus, there was competent evidence to support the court’s drug quantity
         finding in Dyer’s first motion to modify his sentence. Having found at that time that
         Dyer was responsible for at least four and one half kilograms of cocaine base, there
         was no need for the district court to make a new finding of drug quantity for Dyer’s
         second motion to modify his sentence.



                                                  3
Case 1:96-cr-00084-PLM          ECF No. 829, PageID.2645            Filed 05/04/16       Page 4 of 5




Id. at 505. Defendant’s reply to the government’s response (ECF No. 824) does not dispute that this

Court may make new quantity findings for purposes of sentence modification motions if such

findings are supported by reliable evidence in the record, and defers to this Court’s understanding

of the record concerning its quantity determination.

       The Court, as it has done in the past, finds that “[t]he quantity of drugs attributable to

defendant at the time of sentencing exceeded 4,500 grams” (11/4/2011 Order, ECF No. 744) and,

thus, agrees with the Guidelines range established in the Sentence Modification Report.

       USSG Amendment 782 lowered the base offense levels for most drug quantities in USSG

§ 2D1.1 and for almost all listed chemical quantities in USSG § 2D1.11. The Court must determine

the new, post-amendment sentencing range based upon a recalculation of the guidelines. “Pursuant

to 18 U.S.C. § 3582(c)(2), a district court is not authorized to reduce a defendant’s sentence below

the amended Guidelines range.” United States v. Washington, 584 F.3d 693, 701 (6th Cir. 2009), cert.

denied, 130 S.Ct. 3479 (2010). “[T]he court shall not reduce the defendant’s term of imprisonment

under 18 U.S.C. § 3582(c)(2) and this policy statement to a term that is less than the minimum of

the amended guideline range.” USSG § 1B1.10(b)(2)(A).

       Sentencing modifications under 18 U.S.C. § 3582(c)(2) are not a matter of right; they are a

matter of discretion. See United States v. Hasan, 245 F.3d 682, 685 (8th Cir. 2001) (en banc); United

States v. Johnson, 564 F.3d 419, 421 (6th Cir. 2009) (“[A] district court has the discretion to reduce

a sentence based upon a change in the Sentencing Guidelines”).

       Defendant indicates he has paid off his $6,780 fine, has revamped his belief system and

criminal way of thinking. He has only received one disciplinary infraction since his incarceration

(for possessing too many postage stamps). He indicates his spiritual development has been the

                                                  4
Case 1:96-cr-00084-PLM         ECF No. 829, PageID.2646           Filed 05/04/16     Page 5 of 5




foundation for his transformation. He has completed many Bible correspondence courses. He has

completed his GED, has taken over 4,500 hours in auto body repair courses, and is learning

mechanic skills and works in the garage. He has taken courses in parenting, anger management,

creative problem solving, keyboarding, theology, law, music and health. He has addressed his drug

use in AA and NA. He is a low security inmate and is housed at a minimum security satellite camp.

Defense counsel argues that Mr. Dyer has been in prison for two decades and has exhausted most

of the vocational opportunities available to him.

       This Court finds Defendant Dyer is eligible for a sentence reduction pursuant to 18 U.S.C.

§ 3582(c)(2) and U.S.S.G. Amendment 782.

       NOW THEREFORE, IT IS HEREBY ORDERED that Defendant's motion for modification

of sentence (ECF No. 797) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant Sammy

Dyer’s sentence shall be reduced to 292 months. An order effectuating the sentence reduction shall

issue forthwith.




Dated: May 4, 2016                                  /s/ Robert Holmes Bell
                                                    ROBERT HOLMES BELL
                                                    UNITED STATES DISTRICT JUDGE




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